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                                                                                        OCT 1! 22î3
                            IJM TED STA TES D ISTW CT C O U R T                     JUL' .DUDLEX CLERK
                            W ESTERN DISTRICT OF W RGIM A                         BY:
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                                  D A NW LLE DIW SIO N

U M TED STA TES O F AM ER ICA                    )
V.                                               )CriminalNou(jçcg
                                                                 .                   z.
                                                                                      î
                                                 )
D O N TE BRU C E H A M QU NS                     ) Inviolation of:
                                                     18U.S.C.j924(c)(1)(A)(ii)and (B)(i)
                                                     18U.S.C.jj2and1951
                                         IND ICTM EN T

The GrandJurychargesthat:

                                          CO U N T O N E
                              18U.S.C.j924(c)(1)(A)(ii)and(B)(i)
       On oraboutM ay 17,2018,in the W estem D istrictofV irginia,the defendant,D ON TE

BRUCE HAW IU NS,did u owingly brandish,cany and usea flrearm ,nam ely am odel* 28,

I1,9rnnnLugercalibersem iautomatic tirearm ,thatisashort-barreled rifle asdefined in 18

U.S.C.j921(a)(8),duringandinrelationtoacrimeofviolenceforwhichhemaybeprosecuted
in acourtoftheUnited States,thatis,interferencewith comm ercebythreatsand violence

(HobbsActrobbery)inviolationof18U.S.C.j1951.
       A11inviolationofTitle18,UnitedStatesCode,Section 924(c)(1)(A)(ii)and(B)(i).
                                         C O UN T TW O
                                     18U.S.C.jj2and 1951
       1.      Ata11tim esm aterialto this Indictm ent,Tobacco and M ore w asengaged in the

retailsale oftobacco,food,and otherconverlience store item s in interstate com m erce and w asa

businesslocated in D anville,Virginia', w hich affected interstate com m erce.

       2.      On or aboutM ay 17,2018,in the W estem D istrictofV irgirlia and elsew here,the

defendant,D ON TE BRU CE HA W IG N S,asa principaland an aiderand abettor,did unlaw fully


                                           Page 1 of3

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obstract,delay,and affect,and attemptto obstruct,delay and affect,comm erce asthatterm is

definedin 18U.S.C.j1951,andthemovementofarticlesandcommoditiesinsuchcommerce,
byrobberyasthatterm isdefinedin 18U.S.C.j1951,in thatdefendantDONTE BRUCE
HAW IUNSdidImlawfullytakeandobtain,andaid andabetthetakingandobtainingoll
personalproperty consisting ofcuaency,a.w atch,a cellphone,and cigarettes and othertobacco

productsf'
         rom theperson ofand in thepresenceofan employeeand a custom erofTobacco and

M ore,againsttheirwillbymeansofactualandthreatenedforce,violence,andfearofinjury,
im m ediate and future,to theirpersons,thatisby brandishing,using,and carrying the short-

barreled rifle described in CotmtOne ofthis Indictm ent.

       A 11in violation ofTitle 18,United States Code,Sections2 and 1951.

                                N O TICE O F FO R FE ITU RE

              Upon conviction ofthe felony offenses setforth in Cotm tO ne,the defehdant,

D ON TE BRU CE HA W K IN S,shallforfeitto the U nited States ofAm erica:

                     any lrearm sand am m lm ition involved in the com m ission ofthe offense,

       orpossessedinviolationthereof,plzrsuantto 18U.S.C.j924(d)and28U.S.C.
       j2461(c).
              lfany oftheproperty described above,as a,resultofany actor om ission ofthe

defendant:

                      carm otbe located upon the exercise ofdue diligence;

                     hasbeen transferred orsold to,or deposited w ith,a third party;

                     hasbeenplacedbeyondthejudsdictionofthecourt;
              d.     hasbeen substantially dim inished in value;or

                     hasbeen com m ingled w ith otherproperty which cannotbe divided
                     w ithoutdiftk ulty,

                                         Page 2 of3
    Case 4:18-cr-00028-JLK Document 1 Filed 10/18/18 Page 2 of 3 Pageid#: 2
'
    itisthe intentofthe United States to seek forfeiture ofany otherproperty ofthe defendantup to

    thevalueoftheabove-describedforfeitableproperty,plzrsuantto21U.S.C.j853(19.
                              dk
A TRUE BILL tlzis / &              day ofOctober2018.



                                                      LV FOREN RSOD
                                                      FOR EPERSON
           h




THO M AS T.CU LLEN
U nited StatesA ttom ey




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